Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 1 of 25




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

    NATHAN J. ROWAN, individually and on                Case No.
    behalf of all others similarly situated,
                                                      CLASS ACTION
                   Plaintiff,
                                                      DEMAND FOR JURY TRIAL
    v.

    UNITED ENROLLMENT SERVICES
    LLC, a Florida company, and ADROIT
    HEALTH GROUP LLC, a Texas company,

                   Defendants.


              CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff Nathan J. Rowan (“Plaintiff” or “Rowan”) brings this Class Action Complaint and

  Demand for Jury Trial against Defendant United Enrollment Services LLC, (“Defendant United

  Enrollment” or “United Enrollment”) and Defendant Adroit Health Group LLC dba Strata Health

  Group, (“Defendant Adroit” or “Adroit”) to stop the Defendants from violating the Telephone

  Consumer Protection Act and the Florida Telephone Solicitation Act by directing the making

  telemarketing calls without consent to consumers who registered their phone numbers on the

  National Do Not Call registry (“DNC”). Plaintiff also seeks injunctive and monetary relief for all

  persons injured by Defendant’s conduct. Plaintiff, for this Complaint, alleges as follows upon

  personal knowledge as to himself and his own acts and experiences, and, as to all other matters,

  upon information and belief, including investigation conducted by his attorneys.

                                             PARTIES

         1.      Plaintiff Nathan J. Rowan is a resident of East Rochester, New York.
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 2 of 25




          2.      Defendant United Enrollment Services LLC is a Florida limited liability company

  with its principal place of business in Boca Raton, Florida. Defendant United Enrollment conducts

  business throughout this District, Florida, and the U.S.

          3.      Defendant Adroit Health Group LLC is a Texas limited liability company with its

  principal place of business in McKinney, Texas. Defendant Adroit conducts business throughout

  this District, Florida, and the U.S.

                                    JURISDICTION AND VENUE

          4.      This Court has Federal question subject matter jurisdiction over this action under

  28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §

  227 (“TCPA”). The Court has supplemental jurisdiction over the Florida Telephone Solicitation

  Act by (“FTSA”) claims, as they arise out of the same telemarketing campaign as the TCPA claim.

          5.      This Court has personal jurisdiction over the Defendants since the Defendants

  conduct business in this District and made or caused to be made telemarketing calls from this

  District.

          6.      The venue is proper under 28 U.S.C. § 1391(b) because the calls at issue were made

  into this District.

                                         INTRODUCTION

          7.      As the Supreme Court explained at the end of its term this year, “Americans

  passionately disagree about many things. But they are largely united in their disdain for robocalls.

  The Federal Government receives a staggering number of complaints about robocalls—3.7 million

  complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly

  30 years, the people’s representatives in Congress have been fighting back.” Barr v. Am. Ass'n of

  Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).




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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 3 of 25




         8.      The National Do Not Call Registry allows consumers to register their telephone

  numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

  See 47 C.F.R. § 64.1200(c)(2).

         9.      A listing on the Registry “must be honored indefinitely, or until the registration is

  cancelled by the consumer or the telephone number is removed by the database administrator.” Id.

         10.     When Congress enacted the TCPA in 1991, it found that telemarketers called more

  than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

         11.     By 2003, due to more powerful autodialing technology, telemarketers were calling

  104 million Americans every day. In re Rules and Regulations Implementing the TCPA of 1991,

  18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

         12.     The problems Congress identified when it enacted the TCPA have only grown

  exponentially in recent years.

         13.     Industry data shows that the number of robocalls made each month increased from

  831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three years.

         14.     According to online robocall tracking service “YouMail,” 4.1 billion robocalls were

  placed in November 2021 alone, at a rate of 137.4 million calls per day. www.robocallindex.com

  (last visited December 30, 2021).

         15.     The FCC also has received an increasing number of complaints about unwanted

  calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

  2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.




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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 4 of 25




          16.     “Robocalls and telemarketing calls are currently the number one source of

  consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016), statement

  of FCC chairman.1

          17.     “The FTC receives more complains about unwanted calls than all other complaints

  combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In re Rules

  and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of

  Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).2

                                       COMMON ALLEGATIONS

          18.     Defendant Adroit is an insurance marketing agency.

          19.     Defendant Adroit conducts business using the assumed name Strata Health Group.

          20.     Defendant United Enrollment is an insurance marketing agency.

          21.     Defendant Adroit directs the making of unsolicited calls to consumers including

  those who are registered on the DNC.

          22.     Defendant Adroit hired Defendant United Enrollment as its agent to conduct

  widescale telemarketing campaign on its behalf and for its benefit.

          23.     To generate leads for Defendant Adroit, in the first instance, Defendant United

  Enrollment places outbound calls, including text messages, to consumers including to those

  consumers who are listed on the National Do Not Call Registry without obtaining the prior consent

  from the consumers to call them.

          24.     Defendant United Enrollment qualifies the leads and passes on the qualified leads

  of potential customers to Defendant Adroit, who then places further unsolicited calls, including



  1
    https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
  2
    https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-consumer-protection-
  federal-communications-commission-rules-regulations/160616robocallscomment.pdf


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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 5 of 25




  pre-recorded voice calls, without ever obtaining the consent from the consumers to call them, just

  like they called Plaintiff Rowan’s cell phone.

         25.     Multiple consumers have posted complaint regarding telemarketing calls they

  received from and/or on behalf of Defendant Adroit, similar to those received by Plaintiff Rowan,

  including complaints of receiving unsolicited telemarketing calls from 800-269-3563, the same

  phone number from which the Plaintiff was called:




         •                                                                               3




  3
   https://www.bbb.org/us/tx/mckinney/profile/insurance-agency/strata-health-group-0875-
  90799591/complaints

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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 6 of 25




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  4
    https://www.bbb.org/us/tx/mckinney/profile/insurance-agency/strata-health-group-0875-
  90799591/complaints
  5
    https://800notes.com/Phone.aspx/1-234-206-8892
  6
    https://reverd.com/blog/1-800-269-3563

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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 7 of 25




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         26.      Multiple consumers have also posted complaint regarding telemarketing calls they

  received from Defendant United Enrollment, similar to those received by Plaintiff Rowan:




         •                                                                                            8



         •     “I’ve just started getting these calls also, 3 times a day for the past month now I’ve got
               5 of their numbers so I’m going to start spamming them with calls now” 9



  7
    https://callfilter.app/18002693563
  8
    https://whocallsme.com/Phone-Number.aspx/8889973651/2
  9
    https://scammer.info/t/robocalling-healthcare-scam-united-enrollment-services/6

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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 8 of 25




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         27.     For twenty-five years the FCC has explained that its “rules generally establish that

  the party on whose behalf a solicitation is made bears ultimate responsibility for any violations.”

  In re Rules & Regulations Implementing the TCPA, CC Docket No. 92-90, Memorandum Opinion

  and Order, 10 FCC Rcd 12391, 12397 (¶ 13) (1995).

         28.     On May 9, 2013, the FCC released a Declaratory Ruling holding that a corporation

  or other entity that contracts out its telephone marketing “may be held vicariously liable under

  federal common law principles of agency for violations of either section 227(b) or section 227(c)

  that are committed by third-party telemarketers.”12

         29.     In that ruling, the FCC instructed that sellers such as Adroit may not avoid liability

  by outsourcing telemarketing:



  10
     https://scammer.info/t/robocalling-healthcare-scam-united-enrollment-services/64769
  11
     Id.
  12
     In re Joint Petition Filed by DISH Network, LLC et al. for Declaratory Ruling Concerning the
  TCPA Rules, 28 FCC Rcd 6574, 6574 (¶ 1) (2013) (“May 2013 FCC Ruling”).

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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 9 of 25




         [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
         activities to unsupervised third parties would leave consumers in many cases
         without an effective remedy for telemarketing intrusions. This would particularly
         be so if the telemarketers were judgment proof, unidentifiable, or located outside
         the United States, as is often the case. Even where third-party telemarketers are
         identifiable, solvent, and amenable to judgment limiting liability to the telemarketer
         that physically places the call would make enforcement in many cases substantially
         more expensive and less efficient, since consumers (or law enforcement agencies)
         would be required to sue each marketer separately in order to obtain effective relief.
         As the FTC noted, because “[s]ellers may have thousands of ‘independent’
         marketers, suing one or a few of them is unlikely to make a substantive difference
         for consumer privacy.”

  May 2013 FCC Ruling, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted).

         30.     In response to these calls, Plaintiff Rowan brings forward this case seeking

  injunctive relief requiring the Defendants to cease from violating the Telephone Consumer

  Protection Act and the Florida Telephone Solicitation Act, as well as an award of statutory

  damages to the members of the Classes and costs.

                            PLAINTIFF ROWAN’S ALLEGATIONS

         31.     Plaintiff Rowan registered his cell phone number on the DNC on June 4, 2005.

         32.     Plaintiff’s cell phone number is not associated with a business and is used for

  personal use only.

         33.     On November 30, 2021, at 1:58 PM, Defendant United Enrollment sent a text

  message to Plaintiff Rowan on his cell phone from the phone number 539-208-8589, to generate

  him as a lead for Defendant Adroit’s health benefit plan and provided 855-751-2562 as the call

  back number:




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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 10 of 25




           34.    This text message was sent using an automated dialing system, and it is

  programmed to respond to selected keywords like ‘STOP’. It is not capable of receiving phone

  calls.

           35.    On December 1, 2021, at 1:58 PM, Defendant United Enrollment sent another

  solicitation text message on Plaintiff Rowan’s cell phone almost identical to the one above, this

  time using the phone number 878-227-7596, to sell Defendant Adroit’s health plan to the Plaintiff.

  It was also sent using an automated dialing system and provided the same call back number, 855-

  751-2562, as the previous text message:




           36.    Defendants willfully refrained from identifying themselves in both of these

  solicitation texts.

           37.    To find out who was sending these solicitation text messages to his cell phone,

  Plaintiff Rowan called the phone number 1-855-751-2562 on December 3, 2021, at 11:39 AM.

  The call was answered by an agent who identified the company as Defendant United Enrollment.



                                                                                                 10
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 11 of 25




         38.     The agent asked several qualifying questions to the Plaintiff and offered him a

  health plan from Defendant Adroit and its subsidiary companies. While Plaintiff was speaking

  with Defendant United Enrollment’s agent, the agent sent a text message to the Plaintiff’s cell

  phone, using the phone number 949-288-2906, with a hyperlink to Defendant Adroit’s webpage:




         39.     Plaintiff clicked on this link and discovered that the health plan offered to him was

  Defendant Adroit’s and of its subsidiary companies. Plaintiff did not provide his e-signature and

  hence never provided his consent to accept the terms of the plan offered or to receiving any

  telephonic solicitation from or on behalf of the Defendants.

         40.     On December 6, 2021, at 4:04 PM, Plaintiff received an e-mail from Defendant

  Adroit with a hyperlink to the same policy as was offered to him before seeking his signature. The

  email also provided a call back number, 800-269-3563.




                                                                                                   11
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 12 of 25




         41.     Plaintiff Rowan had not provided his consent to Defendant United Enrollment, or

  to Defendant Adroit to receive any solicitation calls or text messages from them, and he did not

  provide his e-signatures on the policy offered to him by the Defendants.

         42.     On December 8, 2021, at 1:08 PM, Plaintiff Rowan sent “Stop” to the phone

  number 949-288-2906, from which Defendant United Enrollment’s agent sent the confirmation

  hyperlink to the Plaintiff’s cell phone. He instantly received a confirmation message confirming

  that the Plaintiff was unsubscribed.




         43.     On December 8, 2021, at 1:45 PM, despite having made a stop request, and without

  ever providing his consent to receive any telemarketing calls from the Defendants, Plaintiff Rowan

  received a call to his cell phone from the phone number 800-269-3563, which was mentioned in

  the email sent to him by Defendant Adroit on December 6, 2021. Plaintiff did not answer the call

  and received a pre-recorded voicemail, which said:

                 “Hello, this reminder is from Adroit Health Group customer service and contains
                 important information about your plan benefits. In our routine review of new or
                 changed accounts, we have found that a valid confirmation of enrollment document
                 is not in place. We have sent a secure email with the needed document to the email
                 address used in your plan application. Please access and complete the e-signature
                 process within 72 hours to assure continuation of health benefits. If you have
                 questions about this message or the e-signature document, please contact AHG
                 customer service, Monday through Friday, 7 AM to 6 PM central time, at 800-269-
                 3563. Thank you for being a valued member and please let us know if we can help
                 you in anyway.”



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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 13 of 25




         44.    On December 29, 2021, at 12:25 PM, Plaintiff Rowan received another call to his

  cell phone again from the same phone number 800-269-3563. Plaintiff did not answer this call and

  he received the same pre-recorded voicemail as the last time, which said:

                “Hello, this reminder is from Adroit Health Group customer service and contains
                important information about your plan benefits. In our routine review of new or
                changed accounts, we have found that a valid confirmation of enrollment document
                is not in place. We have sent a secure email with the needed document to the email
                address used in your plan application. Please access and complete the e-signature
                process within 72 hours to assure continuation of health benefits. If you have
                questions about this message or the e-signature document, please contact AHG
                customer service, Monday through Friday, 7 AM to 6 PM central time, at 800-269-
                3563. Thank you for being a valued member and please let us know if we can help
                you in anyway.”

         45.    On January 19, 2022, at 1:25 PM, Plaintiff Rowan received another call to his cell

  phone from Defendant Adroit using the phone number 800-269-3563. Plaintiff did not answer this

  call and received the same pre-recorded voicemail as the ones he received before:




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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 14 of 25




         46.    On February 2, 2022, at 1:15 PM, Plaintiff Rowan received another call to his cell

  phone from Defendant Adroit using the phone number 800-269-3563. Plaintiff did not answer this

  call and received the same pre-recorded voicemail as the ones he received before:




         47.    On February 9, 2022, at 12:58 PM, Plaintiff Rowan received another call to his cell

  phone from Defendant Adroit using the phone number 800-269-3563. Plaintiff did not answer this

  call and received the same pre-recorded voicemail as the ones he received before:




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Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 15 of 25




         48.     The unauthorized solicitation telephone calls and text messages that Plaintiff

  received from and/or on behalf of the Defendants have harmed Plaintiff Rowan in the form of

  annoyance, nuisance, and invasion of privacy, and disturbed the use and enjoyment of his phone,

  in addition to the wear and tear on the phone’s hardware (including the phone’s battery) and the

  consumption of memory on the phone.

         49.     Seeking redress for these injuries, Plaintiff Rowan, on behalf of himself and Classes

  of similarly situated individuals, bring suit under the TCPA.

                                     CLASS ALLEGATIONS

         50.     Plaintiff Rowan brings this action pursuant to Federal Rules of Civil Procedure

  23(b)(2) and 23(b)(3) and seek certification of the following Classes:

         Do Not Call Registry Class: All persons in the United States who from four years prior
         to the filing of this action through class certification (1) either of the Defendants (or an
         agent on Defendants’ behalf) called on their telephone number more than one time, (2)
         within any 12-month period, (3) where the person’s telephone number had been listed on



                                                                                                   15
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 16 of 25




         the National Do Not Call Registry for at least thirty days, (4) for substantially the same
         reason Defendants called Plaintiff.
         Pre-recorded No Consent Class: All persons in the United States who from four years
         prior to the filing of this action through trial (1) either of the Defendants (or an agent on
         Defendant’s behalf) called on their cellular telephone number (2) using the same or a
         similar pre-recorded voice message as was used to call the Plaintiff.
         Internal Do Not Call Class: All persons in the United States who from four years prior to
         the filing of this action through class certification (1) either of the Defendants or their agent
         called more than once (2) within any 12-month period (3) for substantially the same reason
         Defendants or their agent called the Plaintiff, (4) including at least one call after the person
         requested that Defendants or their agent to stop calling.
         Autodial Class: All persons in the United States, who, on or after July 1, 2021, (1) received
         a telephonic sales call regarding Defendants’ goods and/or services, (2) from Florida, (3)
         using the same equipment or type of equipment utilized to call the Plaintiff.
         Unidentified Sales Call Class: All persons in the United States, who, on or after July 1,
         2021, (1) received an unsolicited telephonic sales call from either of the Defendants, (2)
         from Florida, (3) in which the caller failed to identify the name of the business on whose
         behalf the solicitation call was placed.

         51.     The following individuals are excluded from the Classes: (1) any Judge or

  Magistrate presiding over this action and members of their families; (2) Defendant, their

  subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or their

  parents have a controlling interest and their current or former employees, officers and directors;

  (3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

  from the Classes; (5) the legal representatives, successors or assigns of any such excluded persons;

  and (6) persons whose claims against the Defendants has been fully and finally adjudicated and/or

  released. Plaintiff Rowan anticipates the need to amend the Class definition following appropriate

  discovery.

         52.     Numerosity: On information and belief, there are hundreds, if not thousands of

  members of the Classes such that joinder of all members is impracticable.

         53.     Commonality and Predominance: There are many questions of law and fact

  common to the claims of the Plaintiff and the Classes, and those questions predominate over any


                                                                                                       16
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 17 of 25




  questions that may affect individual members of the Class. Common questions for the Classes

  include, but are not necessarily limited to the following:

         (a)     Whether Defendant’s conduct violated the TCPA and the FTSA; and

         (b)     whether members of the Classes are entitled to treble damages based on the

                 willfulness of Defendants’ conduct.

         54.     Adequate Representation: Plaintiff will fairly and adequately represent and

  protect the interests of the Classes, and has retained counsel competent and experienced in class

  actions. The Plaintiff has no interests antagonistic to those of the Classes, and Defendants have no

  defenses unique to the Plaintiff. The Plaintiff and his counsel are committed to vigorously

  prosecuting this action on behalf of the members of the Classes and have the financial resources

  to do so. Neither the Plaintiff nor his counsel have any interest adverse to the Classes.

         55.     Appropriateness: This class action is also appropriate for certification because the

  Defendants have acted or refused to act on grounds generally applicable to the Classes and as

  wholes, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

  of conduct toward the members of the Classes and making final class-wide injunctive relief

  appropriate. Defendants’ business practices apply to and affect the members of the Classes

  uniformly, and Plaintiff’s challenge of those practices hinges on Defendants’ conduct with respect

  to the Classes as wholes, not on facts or law applicable only to Plaintiff Rowan. Additionally, the

  damages suffered by individual members of the Classes will likely be small relative to the burden

  and expense of individual prosecution of the complex litigation necessitated by Defendants’

  actions. Thus, it would be virtually impossible for the members of the Classes to obtain effective

  relief from Defendants’ misconduct on an individual basis. A class action provides the benefits of

  single adjudication, economies of scale, and comprehensive supervision by a single court.




                                                                                                   17
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 18 of 25




                                 FIRST CLAIM FOR RELIEF
                              Telephone Consumer Protection Act
                                 (Violation of 47 U.S.C. § 227)
               (On Behalf of Plaintiff Rowan and the Do Not Call Registry Class)

         56.     Plaintiff repeats and realleges the prior paragraphs of this Complaint and

  incorporates them by reference herein.

         57.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

  person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

  who has registered his or her telephone number on the national do-not-call registry of persons who

  do not wish to receive telephone solicitations that is maintained by the federal government.”

         58.     Any “person who has received more than one telephone call within any 12-month

  period by or on behalf of the same entity in violation of the regulations prescribed under this

  subsection may” may bring a private action based on a violation of said regulations, which were

  promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

  solicitations to which they object. 47 U.S.C. § 227(c).

         59.     Defendants violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

  telephone solicitations to telephone subscribers such as Plaintiff Rowan and the Do Not Call

  Registry Class members who registered their respective telephone numbers on the National Do

  Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

  maintained by the federal government.

         60.     Defendants violated 47 U.S.C. § 227(c)(5) because Plaintiff Rowan and the Do Not

  Call Registry Class received more than one telephone call in a 12-month period made by or on

  behalf of the Defendant in violation of 47 C.F.R. § 64.1200, as described above.

         61.     As a result of Defendants’ conduct as alleged herein, Plaintiff Rowan and the Do

  Not Call Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are



                                                                                                   18
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 19 of 25




  entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

           62.      To the extent Defendants’ misconduct is determined to be willful and knowing, the

  Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

  recoverable by the members of the Do Not Call Registry Class.

                                    SECOND CLAIM FOR RELIEF
                                  Telephone Consumer Protection Act
                                      (Violation of 47 U.S.C. § 227)
                 (On Behalf of Plaintiff Rowan and the Pre-recorded No Consent Class)

           63.      Plaintiff repeats and realleges paragraphs 1 through 55 of this Complaint and

  incorporates them by reference herein.

           64.      Defendants transmitted unwanted solicitation telephone calls to Plaintiff Rowan

  and the other members of the Pre-recorded No Consent Class using a pre-recorded voice message.

           65.      These pre-recorded voice calls were made en masse without the prior express

  written consent of the Plaintiff Rowan and the other members of the Pre-recorded No Consent

  Class.

           66.      Defendants have, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of

  Defendants’ conduct, Plaintiff Rowan and the other members of the Pre-recorded No Consent

  Class are each entitled to a minimum of $500 in damages, and up to $1,500 in damages, for each

  violation, as well as injunctive relief.

                                    THIRD CLAIM FOR RELIEF
                                 Telephone Consumer Protection Act
                                     (Violation of 47 U.S.C. § 227)
                   (On Behalf of Plaintiff Rowan and the Internal Do Not Call Class)

           67.      Plaintiff repeats and realleges paragraphs 1 through 55 of this Complaint and

  incorporates them by reference herein.




                                                                                                   19
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 20 of 25




         68.    Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

  telemarketing purposes to a residential telephone subscriber unless such person or entity has

  instituted procedures for maintaining a list of persons who request not to receive telemarketing

  calls made by or on behalf of that person or entity. The procedures instituted must meet the

  following minimum standards:

                (1) Written policy. Persons or entities making calls for telemarketing
                purposes must have a written policy, available upon demand, for
                maintaining a do-not-call list
                (2) Training of personnel engaged in telemarketing. Personnel engaged in
                any aspect of telemarketing must be informed and trained in the existence
                and use of the do-not-call list.
                (3) Recording, disclosure of do-not-call requests. If a person or entity
                making a call for telemarketing purposes (or on whose behalf such a call is
                made) receives a request from a residential telephone subscriber not to
                receive calls from that person or entity, the person or entity must record the
                request and place the subscriber's name, if provided, and telephone number
                on the do-not-call list at the time the request is made. Persons or entities
                making calls for telemarketing purposes (or on whose behalf such calls are
                made) must honor a residential subscriber's do-not-call request within a
                reasonable time from the date such request is made. This period may not
                exceed thirty days from the date of such request. If such requests are
                recorded or maintained by a party other than the person or entity on whose
                behalf the telemarketing call is made, the person or entity on whose behalf
                the telemarketing call is made will be liable for any failures to honor the do-
                not-call request. A person or entity making a call for telemarketing purposes
                must obtain a consumer's prior express permission to share or forward the
                consumer's request not to be called to a party other than the person or entity
                on whose behalf a telemarketing call is made or an affiliated entity.
                (4) Identification of sellers and telemarketers. A person or entity making a
                call for telemarketing purposes must provide the called party with the name
                of the individual caller, the name of the person or entity on whose behalf
                the call is being made, and a telephone number or address at which the
                person or entity may be contacted. The telephone number provided may not
                be a 900 number or any other number for which charges exceed local or
                long-distance transmission charges.
                (5) Affiliated persons or entities. In the absence of a specific request by the
                subscriber to the contrary, a residential subscriber's do-not-call request shall
                apply to the particular business entity making the call (or on whose behalf
                a call is made) and will not apply to affiliated entities unless the consumer



                                                                                                   20
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 21 of 25




                 reasonably would expect them to be included given the identification of the
                 caller and the product being advertised.

                 (6) Maintenance of do-not-call lists. A person or entity making calls for
                 telemarketing purposes must maintain a record of a consumer's request not
                 to receive further telemarketing calls. A do-not-call request must be
                 honored for 5 years from the time the request is made.
         69.     Defendants, or an agent calling on behalf of Defendants called the Plaintiff and

  members of the Internal Do Not Call Class without implementing internal procedures for

  maintaining a list of persons who request not to be called by the entity and/or by implementing

  procedures that do not meet the minimum requirements to allow the Defendants or their agent to

  initiate telemarketing calls or text messages.

         70.     The TCPA provides that any “person who has received more than one telephone

  call within any 12-month period by or on behalf of the same entity in violation of the regulations

  prescribed under this subsection may” bring a private action based on a violation of said

  regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

  receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).

         71.     The Defendants have, therefore, violated 47 U.S.C. § 227(c)(5). As a result of

  Defendants’ conduct, Plaintiff, and the other members of the Internal Do Not Call Class are each

  entitled to up to $1,500 per violation.

                                FOURTH CLAIM FOR RELIEF
                       Violation of the Florida Telephone Solicitation Act,
                                       (Fla. Stat. § 501.059)
                      (On Behalf of Plaintiff Rowan and the Autodial Class)

         72.     Plaintiff repeats and realleges paragraphs 1 through 55 of this Complaint and

  incorporates them by reference herein.

         73.     Plaintiff brings this claim individually and on behalf of the Autodial Class Members

  against the Defendants.



                                                                                                  21
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 22 of 25




          74.     It is a violation of the FTSA to “make or knowingly allow a telephonic sales call to

  be made if such call involves an automated system for the selection or dialing of telephone numbers

  or the playing of a recorded message when a connection is completed to a number called without

  the prior express written consent of the called party.” Fla. Stat. § 501.059(8)(a).

          75.     A “telephonic sales call” is defined as a “telephone call, text message, or voicemail

  transmission to a consumer for the purpose of soliciting a sale of any consumer goods or services,

  soliciting an extension of credit for consumer goods or services, or obtaining information that will

  or may be used for the direct solicitation of a sale of consumer goods or services or an extension

  of credit for such purposes.” Fla. Stat. § 501.059(1)(i).

          76.     Defendants failed to secure prior express written consent from Plaintiff and

  members of the Autodial Class.

          77.     In violation of the FTSA, Defendants made and/or knowingly allowed telephonic

  sales calls to be made to Plaintiff and the Autodial Class members without Plaintiff’s and the Class

  members’ prior express written consent.

          78.     Defendants made and/or knowingly allowed the telephonic sales calls to Plaintiff

  and the Class members to be made utilizing an automated system for the selection or dialing of

  telephone numbers.

          79.     As a result of Defendants’ conduct, and pursuant to § 501.059(10)(a) of the FTSA,

  Plaintiff and Class members were harmed and are each entitled to a minimum of $500.00 in

  damages for each violation. Plaintiff and the Class members are also entitled to an injunction

  against future calls. Id.

                                   FIFTH CLAIM FOR RELIEF
                       Violation of the Florida Telephone Solicitation Act,
                                         (Fla. Stat. § 501.059)
                (On Behalf of Plaintiff Rowan and the Unidentified Sales Call Class)



                                                                                                    22
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 23 of 25




          80.     Plaintiff repeats and realleges paragraphs 1 through 55 of this Complaint and

  incorporates them by reference herein.

          81.     Plaintiff brings this claim individually and on behalf of the Unidentified Sales Call

  Class Members against the Defendants.

          82.     The FTSA requires “any telephone solicitor who makes an unsolicited telephonic

  sales call to a residential, mobile, or telephonic paging device telephone number” to mandatorily

  “identify himself or herself by his or her true first and last names and the business on whose behalf

  he or she is soliciting immediately upon making contact by telephone with the person who is the

  object of the telephone solicitation.” Fla. Stat. § 501.059(2)

          83.     A “telephonic sales call” is defined as a “telephone call, text message, or voicemail

  transmission to a consumer for the purpose of soliciting a sale of any consumer goods or services,

  soliciting an extension of credit for consumer goods or services, or obtaining information that will

  or may be used for the direct solicitation of a sale of consumer goods or services or an extension

  of credit for such purposes.” Fla. Stat. § 501.059(1)(i).

          84.     In violation of the FTSA, Defendants failed to identify the name of the telephone

  solicitor or the business on whose behalf those unsolicited telephonic sales calls were made and/or

  caused to be made to the Plaintiff, and other members of the Florida Unidentified Sales Calls Class.

          85.     As a result of Defendants’ conduct, and pursuant to § 501.059(10)(a) of the FTSA,

  Plaintiff and Class members were harmed and are each entitled to a minimum of $500.00 in

  damages for each violation. Plaintiff and the Class members are also entitled to an injunction

  against future calls. Id.

                                       PRAYER FOR RELIEF




                                                                                                    23
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 24 of 25




         WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

  following relief:

           a)    An order certifying this case as a class action on behalf of the Classes as defined

                 above; appointing Plaintiff as the representative of the Classes; and appointing his

                 attorneys as Class Counsel;

           b)    An award of damages and costs;

           c)    An order declaring that Defendant’s actions, as set out above, violate the TCPA and

                 FTSA;

           d)    An injunction requiring Defendant to cease all unsolicited calling activity, and to

                 otherwise protect the interests of the Classes; and

           e)    Such further and other relief as the Court deems just and proper.



                                          JURY DEMAND

         Plaintiff Duverger requests a jury trial.

                                                NATHAN J. ROWAN, individually and on behalf
                                                of all others similarly situated,


  DATED this 14th day of February, 2022.

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                                                                                                  24
Case 9:22-cv-80235-RAR Document 1 Entered on FLSD Docket 02/14/2022 Page 25 of 25




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